
42 So.3d 967 (2010)
In re Harry J. BOYER, Jr.
No. 2010-B-1441.
Supreme Court of Louisiana.
September 3, 2010.

ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.[*]
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent neglected legal matters, failed to communicate with clients, failed to refund unearned fees, and was arrested for possession of cocaine. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Harry J. Boyer, Jr., Louisiana Bar Roll number 17477, be adjudged guilty of additional violations that warrant disbarment and that will be added to his record for consideration in the event he applies for readmission from his disbarment in In re: Boyer, 09-1740 (La.1/22/10), 26 So.3d 139, after becoming eligible to do so, subject to the conditions set forth in the Petition for Consent Discipline.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
WEIMER, J., recused.
NOTES
[*]  Chief Justice Kimball not participating in the opinion.

